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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

             NEMIAS CINTORA-GONZALEZ,                 ::    MOTION TO VACATE
                 Movant,                              ::    28 U.S.C. § 2255
                                                      ::
                   v.                                 ::    CRIMINAL NO.
                                                      ::    1:12-CR-0078-ODE-RGV-1
             UNITED STATES OF AMERICA,                ::
                 Respondent.                          ::    CIVIL ACTION NO.
                                                      ::    1:16-CV-3219-ODE-RGV

                              FINAL REPORT AND RECOMMENDATION

                   This matter has been submitted to the undersigned Magistrate Judge for

             consideration of Nemias Cintora-Gonzalez’s motion to vacate, set aside, or correct his

             sentence pursuant to 28 U.S.C. § 2255, [Doc. 390]. For the reasons that follow, the

             undersigned finds that this § 2255 motion is impermissibly successive and

             RECOMMENDS that this action be DISMISSED pursuant to Rule 4(b) of the Rules

             Governing Section 2255 Proceedings (hereinafter “Rule 4(b)”).1




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                      Rule 4(b) provides that: “If it plainly appears from the motion, any attached
             exhibits, and the record of prior proceedings that the moving party is not entitled to
             relief, the judge must dismiss the motion and direct the clerk to notify the moving
             party.”


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                                       I. PROCEDURAL HISTORY

                   A federal grand jury in the Northern District of Georgia returned a nine count

             indictment against Cintora-Gonzalez and five co-defendants, charging Cintora-

             Gonzalez in Count One with conspiracy to distribute at least 500 grams of

             methamphetamine and at least 5 kilograms of cocaine, in violation of 21 U.S.C.

             §§ 846, 841(b)(1)(A)(viii), and (b)(1)(A)(ii); in Count Two with possession with

             intent to distribute cocaine, in violation of §§ 841(a)(1), (b)(1)(C), and18 U.S.C. § 2;

             in Count Three with possession with intent to distribute methamphetamine, in

             violation of §§ 841(a)(1), (b)(1)(C), and18 U.S.C. § 2; in Count Four with possession

             of a firearm in furtherance of a drug-trafficking crime, in violation of 18 U.S.C.

             §§ 924(c)(1)(A)(i), (c)(1)(B)(i), and 2; in Count Six with possession of a firearm by

             an illegal alien, in violation of 18 U.S.C. §§ 922(g)(5), 924(a)(2); and in Count Eight

             with possession of counterfeit federal reserve notes, in violation of 18 U.S.C. § 472.

             [Doc. 49]. Cintora-Gonzalez pleaded not guilty, [Doc. 76], and proceeded to a four-

             day jury trial, [Docs. 171-74, 280-83]. The jury found Cintora-Gonzalez guilty of all

             counts, [Doc. 176], and the Court imposed a total sentence of 352 months of

             imprisonment, [Doc. 241]. On June 24, 2014, the United States Court of Appeals for



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             the Eleventh Circuit affirmed Cintora-Gonzalez’s convictions and sentence. United

             States v. Cintora-Gonzalez, 569 F. App’x 849, 859 (11th Cir. 2014) (per curiam).

                   On June 10, 2015, Cintora-Gonzalez timely submitted a pro se § 2255 motion,

             arguing that he received ineffective assistance of counsel and that his due process

             rights were violated. [Doc. 318]. On December 23, 2015, the Court denied Cintora-

             Gonzalez’s § 2255 motion on the merits. [Doc. 357]. While Cintora-Gonzalez’s first

             § 2255 motion was pending, he and the government jointly moved the Court for

             resentencing under United States Sentencing Guidelines Amendment 782. [Doc. 350].

             The Court granted the joint motion on December 11, 2015, and reduced Cintora-

             Gonzalez’s sentence to 295 months of imprisonment. [Doc. 353]. Cintora-Gonzalez

             submitted the instant § 2255 motion on August 22, 2016, arguing that United States

             Sentencing Guidelines Amendment 794, which became effective in November of

             2015, entitles him to a minor role adjustment. [Doc. 390 at 3, 6, 8-10].

                                                II. DISCUSSION

                   “A second or successive [§ 2255] motion must be certified as provided in [28

             U.S.C.] section 2244 by a panel of the appropriate court of appeals” as containing

             certain qualifying claims. 28 U.S.C. § 2255(h). “Before a second or successive

             [motion] permitted by this section is filed in the district court, the applicant shall move

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             in the appropriate court of appeals for an order authorizing the district court to

             consider the [motion].” 28 U.S.C. § 2244(b)(3)(A); see also Rule 9, Rules Governing

             § 2255 Proceedings (“Before presenting a second or successive motion, the moving

             party must obtain an order from the appropriate court of appeals authorizing the

             district court to consider the motion . . . .”). Without such authorization from the court

             of appeals, a district court lacks jurisdiction to consider a second or successive § 2255

             motion. See Burton v. Stewart, 549 U.S. 147, 152 (2007) (“[B]ecause the 2002

             petition is a ‘second or successive’ petition . . . the District Court never had

             jurisdiction to consider it in the first place.”).

                    As noted above, Cintora-Gonzalez filed a prior § 2255 motion that was denied

             on the merits. [Docs. 318, 357]. However, not all § 2255 motions filed subsequent

             to a prior § 2255 motion are impermissibly successive; rather, “the phrase ‘second or

             successive’ must be interpreted with respect to the judgment challenged.” Magwood

             v. Patterson, 561 U.S. 320, 332-33 (2010). Here, the Court resentenced Cintora-

             Gonzales pursuant to 18 U.S.C. § 3582(c)(2), which allows a court to reduce a federal

             prisoner’s term of imprisonment when his sentencing range is subsequently lowered

             by the Sentencing Commission. Section 3582 provides that even though a “sentence

             to imprisonment can subsequently be . . . modified pursuant to the provisions of

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             subsection (c) . . . a judgment of conviction that includes such a sentence constitutes

             a final judgment for all other purposes.” 18 U.S.C. § 3582(b). The Eleventh Circuit

             has held that “a sentencing adjustment undertaken pursuant to Section 3582(c)(2) does

             not constitute a de novo resentencing.” United States v. Bravo, 203 F.3d 778, 781

             (11th Cir. 2000) (citation omitted). “[A]ll original sentencing determinations remain

             unchanged with the sole exception of the guideline range that has been amended since

             the original sentencing.” Id. (citation omitted). As such, a sentence reduction under

             § 3582(c) does not constitute a new judgment for purposes of the provisions regarding

             second or successive § 2255 motions. See United States v. Jones, 796 F.3d 483, 486

             (5th Cir. 2015) (“Jones has received a ‘reduc[tion]’ resulting in the ‘modif[ication]’

             of an existing sentence, not a full resentencing. Just as his sentence reduction does not

             re-start AEDPA’s one-year limitations clock . . . it also does not wipe clean the slate

             of habeas applications that he has previously filed.”); White v. United States, 745 F.3d

             834, 836-37 (7th Cir. 2014) (“Magwood does not reset the . . . count, for purposes of

             § 2244 and § 2255, when a prisoner’s sentence is reduced as the result of a retroactive

             change to the Sentencing Guidelines. The district court properly dismissed White’s

             latest [§ 2255] petition as . . . barred by the lack of prior appellate approval.”).



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                   Cintora-Gonzalez’s second § 2255 motion is therefore successive, and this

             Court may consider it only if he has first obtained authorization from the Eleventh

             Circuit to file it. See 28 U.S.C. § 2255(h) & § 2244(b)(3)(A). There is no indication

             in the record that Cintora-Gonzalez has obtained such authorization. Accordingly, the

             Court lacks jurisdiction to consider this second § 2255 motion. See Smith v. United

             States, No. 5:16-cv-57, 2016 WL 4492826, at *2 (S.D. Ga. Aug. 25, 2016)

             (recommending dismissal as impermissibly successive § 2255 motion seeking

             sentence reduction based on Amendment 794).

                                III. CERTIFICATE OF APPEALABILITY

                   Rule 22(b)(1) of the Federal Rules of Appellate Procedure provides that an

             applicant for § 2255 relief “cannot take an appeal unless a circuit justice or a circuit

             or district judge issues a certificate of appealability under 28 U.S.C. § 2253(c).” Rule

             11 of the Rules Governing Section 2255 Proceedings for the United States District

             Courts provides, “The district court must issue or deny a certificate of appealability

             when it enters a final order adverse to the applicant.” Section 2253(c)(2) of Title 28

             states that a certificate of appealability (“COA”) shall not issue unless “the applicant

             has made a substantial showing of the denial of a constitutional right.” A movant

             satisfies this standard by showing “that reasonable jurists could debate whether (or,

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             for that matter, agree that) the [motion] should have been resolved in a different

             manner or that the issues presented were ‘adequate to deserve encouragement to

             proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003). Because the

             dismissal of Cintora-Gonzalez’s § 2255 motion as impermissibly successive is not

             debatable by jurists of reason, the undersigned recommends that he be denied a COA.

                                           IV. CONCLUSION

                   For the foregoing reasons, IT IS HEREBY RECOMMENDED that this 28

             U.S.C. § 2255 motion to vacate sentence, [Doc. 390], be DISMISSED pursuant to

             Rule 4(b) and that a COA be DENIED.

                   The Clerk is DIRECTED to terminate the referral of the § 2255 motion to the

             Magistrate Judge.

                   SO RECOMMENDED, this 30th day of SEPTEMBER, 2016.



                                                   RUSSELL G. VINEYARD
                                                   UNITED STATES MAGISTRATE JUDGE




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